           Case 2:04-cr-00408-JAM Document 45 Filed 06/24/05 Page 1 of 2


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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )         CR. NO. S 04-408 DFL
                                        )
12             Plaintiff,               )         MOTION AND ORDER
                                        )         DISMISSING INDICTMENT
13        v.                            )         WITHOUT PREJUDICE
                                        )
14   JOSE de JESUS BUENROSTRO,          )
                                        )
15             Defendant.               )
     ___________________________________)
16

17        The United States of America, by and through its undersigned

18   attorney, Matthew C. Stegman, Assistant United States Attorney,

19   respectfully requests that this Court dismiss the above-captioned

20   Indictment without prejudice against defendant JOSE de JESUS

21   BUENROSTRO.

22        This motion is made on the grounds that Mr. Buenrosrto has a

23   fatal heart condition.    He has been release from custody pending

24   trial, and has been ordered not to leave the Eastern and Northern

25   Districts of California.    Mr. Buenrostro's condition is extremely

26   grave and he has now been enrolled in hospice care.         According to

27   his physician, he is not eligible for a heart transplant in the

28                                        1
           Case 2:04-cr-00408-JAM Document 45 Filed 06/24/05 Page 2 of 2


 1   United States, but may be eligible in Mexico.

 2        This motion is made pursuant to the provisions of Rule 48(a) of

 3   the Federal Rules of Criminal Procedure.

 4   DATED:_______________
                                              McGREGOR W. SCOTT
 5                                            United States Attorney

 6                                            By /s/ Matthew C. Stegman
                                                MATTHEW C. STEGMAN
 7                                            Assistant U.S. Attorney

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 9                                   O R D E R

10        GOOD CAUSE APPEARING, it is ordered that the above-captioned

11   Indictment be and is hereby dismissed without prejudice against JOSE

12   de JESUS BUENROSTRO.

13   DATED: 6/22/2005

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16                                            DAVID F. LEVI
                                              United States District Judge
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